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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNITED STATES OF AMERICA                     §
                                             §
                                             §
VS.                                          §   CRIMINAL NO. H-06-52-2
                                             §
                                             §
JUAN JOSE CAVAZOS                            §

                                       ORDER

        The defendant filed an unopposed motion to continue the sentencing hearing,

(Docket Entry No. 902). The motion for continuance is GRANTED. The sentencing hearing

is reset to August 25, 2010, at 9:00 a.m.


             SIGNED on May 24, 2010, at Houston, Texas.

                                            ______________________________________
                                                       Lee H. Rosenthal
                                                  United States District Judge
